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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

    TIMOTHY KING, et al.,
    Plaintiffs,

    v.
                                                          Case No. 20-cv-13134
    GRETCHEN WHITMER, in her                              Hon. Linda V. Parker
    official capacity as Governor of the
    State of Michigan, et al.,
    Defendants,

    and

    CITY OF DETROIT,
    Intervenor Defendant.


    PLAINTIFFS’ EX PARTE MOTION TO FILE EXTENDED BRIEF


         Pursuant to Local Rule 7.1(d)(3), Plaintiffs requests leave to file an extended

brief, not to exceed 38 pages, in response to Intervenor City of Detroit’s Motion for

Sanctions, for Disciplinary Action, for Disbarment Referral, and for Referral to State

Bar Disciplinary Bodies (“Sanctions Motion”). The City of Detroit received leave to

file a 38 page brief in support of its Sanctions Motion. Because of the extraordinary

relief requested in the Sanctions Motion Plaintiffs seek leave to respond with a 49

page brief.




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                     BRIEF IN SUPPORT OF PLAINTIFFS’

             EX PARTE MOTION TO FILE EXTENDED BRIEF

      On January 5, 2021, Intervenor Defendant City of Detroit filed a 38 page brief

in support of its Sanctions Motion, upon receiving leave to exceed the page limitation

from this Court. That motion, and its brief in support, raise a number of issues that

need to be fully rebutted. While Plaintiffs will be concise, to thoroughly respond to

the factual and legal issues raised in the Sanctions Motion, they will need to exceed the

25 page limitation. Local Rule 7.1(d)(3) specifically provides for this Court extending

the page limitation on briefing in appropriate circumstances, such as this. See Elhady v.

Bradley, 438 F. Supp. 3d 797, 821 n. 11 (E.D. Mich. 2020). The motion to file an

extended brief, not to exceed 49 pages, should be granted.


                                         Respectfully submitted,

                                         _/s/_Stefanie Lynn Junttila_____________
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                         CERTIFICATE OF SERVICE

      I hereby certify that on January 19, 2020, a true and genuine copy of the

foregoing was served via electronic mail by the Court’s CM/ECF system to all

counsel of record:


_/s/_Stefanie Lynn Junttila_____________
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